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UNITED STATES BANKRUPTCY COURT 
SOUTHERN DISTRICT OF NEW YORK 
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐X 
 
IN RE:                                                               Chapter 7 
 
EDWARD F. MILLER,                                                    Case No. 18‐22449 (RDD) 
 
                    Debtor. 
 
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐X 
 
                                              
       OPPOSITION OF TRUSTEE, MARK S. TULIS TO EMERGENCY MOTION OF NON‐DEBTOR 
    GIOVANNA BATTAGLIA A/K/A GIOVANNA LAMPO (“GIOVANNA BATTAGLIA”) PURSUANT TO 
    FEDERAL RULE OF BANKRUPTCY PROCEDURE 9006(C) FOR AN ORDER SHORTENING NOTICE 
     PERIOD AND SCHEDULING A HEARING ON THE MOTION OF GIOVANNA BATTAGLIA TO (1) 
     QUASH THE SUBPOENA ISSUED BY SONIC ARTS ENTERTAINMENT, LLC AND THE CHAPTER 7 
      TRUSTEE; AND (2) FURTHER OBJECTING TO THE 2004 MOTION AND SEEKING AN ORDER 
          VACATING THE COURT’S ORDER GRANTING THE 2004 MOTION OF SONIC ARTS 
        ENTERTAINMENT, LLC AND IN FURTHER SUPPORT OF THE UNDERLYING RULE 2004 
                                      APPLICATION 
 

         Mark S. Tulis, as trustee (“Trustee”) of the estate of Edward F. Miller (“Debtor”), for his 

opposition to the Emergency Motion of Non‐Debtor Giovanna Battaglia a/k/a Giovanna Lampo 

(“Giovanna Battaglia”) Pursuant to Federal Rule of Bankruptcy Procedure 9006(C) for an Order 

Shortening Notice Period and Scheduling a Hearing on the Motion of Giovanna Battaglia to (1) 

Quash the Subpoena Issued by Sonic Arts Entertainment, LLC and the Chapter 7 Trustee; and (2) 

Further  Objecting  to  the  2004  Motion  and  Seeking  an  Order  Vacating  the  Court’s  Order 

Granting  the  2004  Motion  of  Sonic  Arts  Entertainment,  LLC  and  in  further  support  of  the 

underlying Rule 2004 application, states as follows: 

 
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                1.       Mark S. Tulis was appointed interim trustee of Edward F. Miller and now 

serves  as  Trustee.    He  submits  this  response  in  opposition  to  the  Motion  to  Quash  the 

Subpoena  and  Objection  to  2004  Examination  (ECF  Doc.  No.  55)  filed  by  Giovanna  Lampo 

Battaglia  (“Battaglia”)  and  in  response  to  Debtor’s  objection  to  the  Bankruptcy  Rule  2004 

application to examine Ms. Battaglia. 

                2.       In examining the Debtor’s financial condition, there is no doubt that Ms. 

Battaglia is a vital witness. 

                3.       This  is  the  Debtor’s  second  bankruptcy  case,  which  was  filed  on  March 

26,  2018.    As  noted  in  the  Debtor’s  schedules  a  previous  case  in  the  Northern  District  was 

dismissed. The record reveals that the dismissal was for non‐cooperation with the Trustee. 

                4.       In    the  present  case,  Debtor’s  original  schedules  stated  that  the  Debtor 

pays  Ms.  Battaglia,  with  whom  he  resides,  rent  of  $7,000.00  per  month  (which  the  Trustee 

alleges  on  personal  belief  is  substantially  above  market),  home  maintenance  of  $500.00  per 

month,  electricity  of  $1,500.00  per  month,  plus  additional  homeowner  expenses,  for  a  house 

owned by Ms. Battaglia. 

                5.       The original Schedules I and J in this case demonstrate excess income of 

$9,000.00 per month. 

                6.       In response to the Trustee’s questioning the excess income (and lack of 

any income in the original Schedule I) amended schedules were filed. 

                7.       The  amended  schedules  demonstrate  no  excess  income,  but  show 

monthly payments to or on behalf of Ms. Battaglia as follows: 

                         a.        Rent:  $7,000.00 
                         b.        Electricity: $1,500.00 
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                       c.         Water: $300.00 
                       d.         Food and household supplies:  $1,000.00 
                       e.         Health Insurance:  $1,100.00 
                       f.         Voluntary Support for Ms. Battaglia’s children: $3,500.00 
                        
               8.      It  is  clear  that  the  Debtor  is  paying  substantial  monies  to  Ms.  Battaglia.  

The Trustee and creditors are entitled to determine the legitimacy of the expenses, especially in 

light of the Debtor’s failure to attend his 2004 examination, during which such expenses were 

to be reviewed. 

       WHEREFORE,  it  is  respectfully  requested  that  the  Motion  to  Quash  Subpoena  and 

Objection to 2004 Examination filed by Giovanna Lampo Battaglia be denied. 

                                                 TULIS WILKES HUFF & GEIGER LLP 

Dated: Tarrytown, New York                  By: _/s/ Mark S. Tulis________________ 
       September 21, 2018                           Mark S. Tulis, Esq., Trustee 
                                                    220 White Plains Road, 2nd Floor 
                                                    Tarrytown, New York 10591 
                                                    (914) 747‐4400 
                                                    mtulis@tuliswilkeslaw.com 
 
 
cc:    Cabanillas & Associates, P.C. 
       Irene M. Costello, Esq. 
       Attorney for Debtor 
       120 Bloomingdale Road, Suite 400 
       White Plains, New York 10605 
 
       Smith, Gambrell & Russell, LLP 
       John G. McCarthy, Esq. 
       Attorney for Creditor Sonic Arts Entertainment, LLC 
       1301 Avenue of the Americas, 21st Floor 
       New York, New York 10019 
 
       Charles A. Higgs, Esq. 
       Attorneys for non‐debtor Battaglia 
       115 East 23rd Street, 3rd Floor 
       New York, New York 10010 
